          Case 24-11374-amc           Doc 31     Filed 09/10/24 Entered 09/10/24 15:53:35                  Desc Main
                                                 Document     Page 1 of 4
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 3

 4                                    UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF PENNSYLVANIA
 5
      IN RE:                                                       CASE NO: 24-11374
 6
       STEVEN W JAMISON                                            DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 13
 8                                                                 ECF Docket Reference No. 29,30
                                                                   Judge: Ashely M. Chan
 9                                                                 Hearing Location: Courtroom 4
                                                                   Hearing Date: October 8, 2024
                                                                   Hearing Time: 11:00 a.m.
10
                                                                   Response Date: September 23, 2024

11   On 9/10/2024, I did cause a copy of the following documents, described below,
     Motion to Approve and Notice of Motion ECF Docket Reference No. 29,30
12

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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19   sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
21   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
22
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
23
     DATED: 9/10/2024
24                                                    /s/ Demetrius Parrish
                                                      Demetrius Parrish 57512
25                                                    Attorney for Debtor
                                                      The Law Office Of Demetrius J. Parrish, Jr.
26                                                    7715 Crittenden Street #360
                                                      Philadelphia, PA 19118
27                                                    215 735 3377
                                                      djpesq@gmail.com
28
           Case 24-11374-amc                Doc 31      Filed 09/10/24 Entered 09/10/24 15:53:35                          Desc Main
 1                                                      Document     Page 2 of 4

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 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                     EASTERN DISTRICT OF PENNSYLVANIA
 5
        IN RE:                                                           CASE NO: 24-11374
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        STEVEN W JAMISON                                                 CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 13
 8                                                                       ECF Docket Reference No. 29,30
                                                                         Judge: Ashely M. Chan
 9                                                                       Hearing Location: Courtroom 4
                                                                         Hearing Date: October 8, 2024
                                                                         Hearing Time: 11:00 a.m.
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                                                                         Response Date: September 23, 2024

11   On 9/10/2024, a copy of the following documents, described below,

     Motion to Approve and Notice of Motion ECF Docket Reference No. 29,30
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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 9/10/2024
23

24

25
                                                                  Miles Wood
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Demetrius Parrish
                                                                  The Law Office Of Demetrius J. Parrish, Jr.
28                                                                7715 Crittenden Street #360
                                                                  Philadelphia, PA 19118
USPS FIRST Case
           CLASS 24-11374-amc
                 MAILING RECIPIENTS:Doc 31    Filed 09/10/24 Entered 09/10/24 15:53:35 Desc Main
                                             Document
Parties with names struck through or labeled CM/ECF          Page
                                                    SERVICE were not3 served
                                                                       of 4 via First Class USPS Mail Service.
CASE INFO                                EXCLUDE                                  EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         (U)SUN WEST MORTGAGE COMPANY    INC      PHILADELPHIA
NCRS ADDRESS DOWNLOAD                                                             900 MARKET STREET
CASE 24-11374                                                                     SUITE 400
EASTERN DISTRICT OF PENNSYLVANIA                                                  PHILADELPHIA PA 19107-4233
TUE SEP 10 11-40-27 PST 2024




AMERICAN EDUCATION SERVICES              AMERICAN EDUCATION SERVICES              BUCKS COUNTY WATER
ATTN BANKRUPTCY                          PO BOX 61047                             1275 ALMSHOUSE ROAD
PO BOX 2461                              HARRISBURG PA 17106-1047                 WARRINGTON PA 18976-1295
HARRISBURG PA 17105-2461




BUCKS COUNTY WATER AND SEWER AUTHORITY   (P)VELOCITY PORTFOLIO GROUP    INC       DISCOVER BANK
1275 ALMSHOUSE ROAD                      1800 RT 34 NORTH                         PO BOX 3025
WARRINGTON 18976-1209                    BLDG 3 SUITE 305                         NEW ALBANY OH 43054-3025
                                         WALL NJ 07719-9146




DISCOVER FINANCIAL                       DISCOVER FINANCIAL                       DISCOVER PERSONAL LOANS
ATTN BANKRUPTCY                          PO BOX 30939                             ATTN BANKRUPTCY
PO BOX 3025                              SALT LAKE CITY UT 84130-0939             PO BOX 30954
NEW ALBANY OH 43054-3025                                                          SALT LAKE CITY UT 84130-0954




                                         EXCLUDE                                  EXCLUDE
DISCOVER PERSONAL LOANS                  (D)DISCOVER PERSONAL LOANS               (U)EIN CAP INC
PO BOX 30954                             PO BOX 30954
SALT LAKE CITY UT 84130-0954             SALT LAKE CITY UT 84130-0954




                                                                                  UNDELIVERABLE
LVNV FUNDING LLC                         LENDING CLUB CORPORATION ASSIG           LVNV FUNDING LLC
RESURGENT CAPITAL SERVICES               1800 ROUTE 34 N                          GREENVILLE SC 29602
PO BOX 10587                             WALL NJ 07719-9168
GREENVILLE SC 29603-0587




                                         EXCLUDE
LVNV FUNDINGRESURGENT CAPITAL            (U)MR IRWIN FELDMAN                      NAVY FEDERAL CREDIT UNION
ATTN BANKRUPTCY                                                                   P O BOX 3000
PO BOX 10497                                                                      MERRIFIELD VA 22119-3000
GREENVILLE SC 29603-0497




NAVY FCU                                 NAVY FCU                                 NAVY FEDERAL CR UNION
ATTN BANKRUPTCY                          PO BOX 3700                              ATTN BANKRUPTCY
PO BOX 3000                              MERRIFIELD VA 22119-3700                 PO BOX 3000
MERRIFIELD VA 22119-3000                                                          MERRIFIELD VA 22119-3000




NAVY FEDERAL CR UNION                    ONEMAIN FINANCIAL                        PECO
PO BOX 3700                              PO BOX 3251                              2301 MARKET STREET
MERRIFIELD VA 22119-3700                 EVANSVILLE IN 47731-3251                 PHILADELPHIA PA 19103-1380
USPS FIRST Case
           CLASS 24-11374-amc
                 MAILING RECIPIENTS:Doc 31    Filed 09/10/24 Entered 09/10/24 15:53:35 Desc Main
                                             Document
Parties with names struck through or labeled CM/ECF          Page
                                                    SERVICE were not4 served
                                                                       of 4 via First Class USPS Mail Service.
EXCLUDE
(U)PHILADELPHIA FEDERAL CREDIT UNIO       PORTFOLIO RECOV ASSOC                   (P)PORTFOLIO RECOVERY ASSOCIATES LLC
                                          120 CORPORATE BLVD                      PO BOX 41067
                                          NORFOLK VA 23502-4952                   NORFOLK VA 23541-1067




UNDELIVERABLE                             EXCLUDE
ROC FUNDING GROUP LLC                     (U)SECOND ROUND SUB LLC                 SMARTROOF LLC
                                                                                  6862 ELM STREET STE 300
                                                                                  MC LEAN VA 22101-3886




EXCLUDE                                                                           EXCLUDE
(U)STATE OF PENNSYLVANIA                  (P)SUN WEST MORTGAGE COMPANY INC        (D)(P)SUN WEST MORTGAGE COMPANY INC
                                          18000 STUDEBAKER ROAD                   18000 STUDEBAKER ROAD
                                          SUITE 200                               SUITE 200
                                          CERRITOS CA 90703-2680                  CERRITOS CA 90703-2680




                                          EXCLUDE
SUN WEST MORTGAGE COMPANY INC             (D)(P)SUN WEST MORTGAGE COMPANY INC     SYNCHRONY BANK
CO JILL MANUELCOUGHLIN ESQ                18000 STUDEBAKER ROAD                   120 CORPORATE BLVD
8 NESHAMINY INTERPLEX SUITE 215           SUITE 200                               NORFOLK VA 23502-4952
TREVOSE PA 19053-6980                     CERRITOS CA 90703-2680




                                          EXCLUDE
UNITED STATES TRUSTEE                     (D)(P)VELOCITY PORTFOLIO GROUP   INC    VERIZON
OFFICE OF UNITED STATES TRUSTEE           1800 RT 34 NORTH                        BY AMERICAN INFOSOURCE AS AGENT
ROBERT NC NIX FEDERAL BUILDING            BLDG 3 SUITE 305                        4515 N SANTA FE AVE
900 MARKET STREET                         WALL NJ 07719-9146                      OKLAHOMA CITY OK 73118-7901
SUITE 320
PHILADELPHIA PA 19107-4202


                                          UNDELIVERABLE
VERIZON BY AMERICAN INFOSOURCE AS AGENT   WEBBANK                                 DEMETRIUS J PARRISH
PO BOX 4457                               GREENVILLE SC 29602                     THE LAW OFFICES OF DEMETRIUS J PARRISH
HOUSTON TX 77210-4457                                                             7715 CRITTENDEN STREET 360
                                                                                  PHILADELPHIA PA 19118-4473




                                          DEBTOR
(P)SCOTT F WATERMAN CHAPTER 13 TRUSTEE    STEVEN W JAMISON
2901 ST LAWRENCE AVE                      1104 BERGAN ROAD
SUITE 100                                 ORELAND PA 19075-2506
READING PA 19606-2265
